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               Exhibit 10
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                  Infringement Claim Chart for U.S. Pat. No. US7269253B1 v. Google
                                            (“Defendant”)
   Claim 10                                           Evidence
10. A           The Google Customer Service performs a method for communicating in a communication
communication   network.
s method
comprising:     For Example, Google Customer Service performs a method of communicating by
                establishing, over a communication network, a call between callers with a request to the
                appropriate department for assistance.




                Source: Contact us for help and office location guidance - Google (about.google)




                Source: Google Help
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                  Source: Contact Us | Google Cloud

(a) receiving a   The Google Customer Service receives a plurality of communications, each having
plurality of      associated classification information.
communications
, each having     For example, Google Customer Service receives calls from multiple callers. For each call,
associated        a user provides information about the nature of the call by selecting the appropriate
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classification   department from the given choices. The responses are used to classify the call.
information;




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                    Source: Contact Us | Google Cloud

(b) storing         The Google Customer Service maintains information about potential targets that includes
information         support agents, departments, or specific resources capable of handling different types of
representing        inquiries.
characteristics
of at least three   For example, Google Customer Service records i.e., stores information about the skill set
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potential      possessed by agents who are potential targets of the call. Google employs numerous
targets; and   agents, at least three of which possess the skill set required by the call.




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                   Source: Contact Center AI (CCAI) Platform | Google Cloud

(c) determining,   The Google Customer Service determines an optimum target for each communication
in a               based on the communication classification and target characteristics using a
combinatorial      combinatorial optimization comparing at least three potential targets.
optimization, an
optimum target     For example, Google Customer Service analyses the caller selection to determine one or
for each           more skills that an agent who is selected to receive the call should have in order to
communication      provide the caller with the requested assistance. The system analyses the native agent
based on the       to control calls using Contact Center AI Platform (i.e., a combinatorial optimization).
communication
classification,
and target
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characteristics.




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Source: Google announces new Cloud Contact Center AI Platform | Google Cloud Blog
